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                                                     February 15, 2022

VIA ECF
The Honorable Andrew L. Carter, Jr., U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square, Room 435
New York, NY 10007

        Re:       Malcolm v. The City of New York
                  20-cv-09641(ALC)

Dear Judge Carter:

        I have previously appeared as counsel for the Plaintiffs in this action while working with
Moser Law Firm, P.C. I am no longer working with said firm and will be appearing as counsel
on behalf of my own firm the Law Office of Paul A. Pagano, P.C. along with Jason L. Abelove
of the Law Offices of Jason L. Abelove, P.C., and Yale Pollack of the Law Offices of Yale
Pollack, P.C. We are working to file notices of appearance and a substitution of counsel as soon
as possible, but it is taking some time due to the number of Plaintiffs involved (24).

        In the interest of keeping the litigation on track we are finalizing reply papers in
connection with Plaintiffs’ motion for conditional collective certification and for notice to the
collective (Docket Entry 47) and intend to file same by the February 21st deadline. It appears
that the memorandum of law will be approximately 12 pages which is 2 pages over Your
Honor’s limit for replies. We respectfully request that the 10 page limit be enlarged to 12 pages.
We note that our request is on consent of Defendant’s counsel.

                                                     Respectfully submitted,

                                                     Law Office of Paul A. Pagano, P.C.

                                             By:
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cc: All Counsel of Record (VIA ECF)
